                          Case: 25-2039, 03/28/2025, DktEntry: 2.1, Page 1 of 5

                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            4 15-355-8000                             FILED
Molly C. Dwyer
Clerk of Court                                                                         MAR 28 2025
                                                                                   MOLLY c. DWYER, CLERK
                                                                                    U.S. COURT OF APPEALS

                  PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


       Docket Number:           25-2039
       Originating Case Number: 2:25-cv-00241-BHS

       Short Title :                 Shilling, et al. V. Trump, et al.

      Dear Appellant/Counsel


      Your notice of appeal has been received in the Clerk's office of the United States Court of
      Appeals for the Ninth Circuit. The U.S. Court of Appeals docket number shown above
      has been assigned to this case. You must indicate this Court of Appeals docket number
      whenever you communicate with this court regarding this case.

      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.

      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.

      You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
      case: (1) involves a non-governmental corporation, association, joint venture, partnership,
      limited liability company, or similar entity, (2) is a bankruptcy case, (3) is a criminal case
      involving an organizational victim, or (4) involves review of state court proceedings. See
      Ninth Circuit Rule 26-1.1.

      Failure of the appellant(s) to comply with the time schedule order will result in
      dismissal of the appeal.
                  Case: 25-2039, 03/28/2025, DktEntry: 2.1, Page 2 of 5



Please read the enclosure materials carefully.
                          Case: 25-2039, 03/28/2025, DktEntry: 2.1, Page 3 of 5

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                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            4 15-355-8000
Molly C. Dwyer
Clerk of Court



                  PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


        Docket Number:           25-2039
        Originating Case Number: 2:25-cv-00241-BHS

        Case Title:                 Shilling, et al. V. Trump, et al.



        Wednesday, April 2, 2025
        Donald J. Trump                                      Mediation Questionnaire due
        United States of America                             Mediation Questionnaire due
        Peter Hegseth                                        Mediation Questionnaire due
        United States Department of Defense                  Mediation Questionnaire due
        Daniel P. Driscoll                                   Mediation Questionnaire due
        United States Department of the Army                 Mediation Questionnaire due
        John C. Phelan                                       Mediation Questionnaire due
        United States Department of the Navy                 Mediation Questionnaire due
        Gary Ashworth                                        Mediation Questionnaire due
        United States Department of The Air Force            Mediation Questionnaire due

        Friday, April 25, 2025
        Donald J. Trump                                      Preliminary Injunction Opening
                                                             Brief Due
        United States of America                             Preliminary Injunction Opening
                                                             Brief Due
        Peter Hegseth                                        Preliminary Injunction Opening
                                                             Brief Due
                     Case: 25-2039, 03/28/2025, DktEntry: 2.1, Page 4 of 5

United States Department of Defense                    Preliminary Injunction Opening
                                                       Brief Due
Daniel P. Driscoll                                     Preliminary Injunction Opening
                                                       Brief Due
United States Department of the Army                   Preliminary Injunction Opening
                                                       Brief Due
John C. Phelan                                         Preliminary Injunction Opening
                                                       Brief Due
United States Department of the Navy                   Preliminary Injunction Opening
                                                       Brief Due
Gary Ashworth                                          Preliminary Injunction Opening
                                                       Brief Due
United States Department of The Air Force              Preliminary Injunction Opening
                                                       Brief Due

Friday, May 23, 2025
Emily Shilling                                         Preliminary Injunction Answering
                                                       Brief Due
Blake Dremann                                          Preliminary Injunction Answering
                                                       Brief Due
Geirid Morgan                                          Preliminary Injunction Answering
                                                       Brief Due
Cathrine Schmidt                                       Preliminary Injunction Answering
                                                       Brief Due
Jane Doe                                               Preliminary Injunction Answering
                                                       Brief Due
Videl Loins                                            Preliminary Injunction Answering
                                                       Brief Due
Matthew Medina                                         Preliminary Injunction Answering
                                                       Brief Due
Gender Justice League                                  Preliminary Injunction Answering
                                                       Brief Due
Sierra Moran                                           Preliminary Injunction Answering
                                                       Brief Due
                   Case: 25-2039, 03/28/2025, DktEntry: 2.1, Page 5 of 5

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
the transcript deadlines do not apply.
The optional reply may be filed within 21 days of service of the answering brief. See
Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
